                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

TRACY HOWARD BESSELAAR,                    )
# 135043,                                  )
                                           )
       Petitioner,                         )
                                           )
  v.                                       )    CIVIL ACTION NO. 2:21-cv-345-ECM
                                           )
SAM COCHRAN, et al.,                       )
                                           )
       Respondents.                        )

                                      ORDER

        On May 27, 2021, the Magistrate Judge entered a Recommendation (doc. 2) to

which no timely objections have been filed. After an independent review of the file and

upon consideration of the Recommendation, it is

        ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

and this case is TRANSFERRED to the United States District Court for the Southern

District of Alabama pursuant to 28 U.S.C. § 1631.

       Done this 23rd day of June, 2021.

                                       /s/ Emily C. Marks
                                 EMILY C. MARKS
                                 CHIEF UNITED STATES DISTRICT JUDGE
